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                                No. 24-1285

                                   IN THE

             United States Court of Appeals
                         FOR THE FEDERAL CIRCUIT

                                APPLE INC.,
                                                        Appellant,
                                      v.
                   INTERNATIONAL TRADE COMMISSION,
                                                         Appellee,

      MASIMO CORPORATION, CERCACOR LABORATORIES, INC.
                                                       Intervenors.

         Appeal from the United States International Trade Commission
                      in Investigation No. 337-TA-1276

 MASIMO CORPORATION AND CERCACOR LABORATORIES, INC.’S
 NONCONFIDENTIAL OPPOSITION TO APPLE INC.’S EMERGENCY
      MOTION TO STAY ENFORCEMENT OF ITC’S ORDERS
                   PENDING REVIEW

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Rule 25.1(e)(1)(B) Statement: The material omitted on pages 7 and 9 are images of
Masimo’s confidential product development for the Masimo W1 Watch. Masimo
designated this information as Confidential Business Information under the
Administrative Protective Order in effect in ITC Investigation No. 1276. The
material omitted on pages 1-2 and 19 contain information that Appellant Apple Inc.
designated as confidential regarding its proposed redesign for the infringing Apple
Watches.




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        Intervenors     Masimo   Corporation   and   Cercacor   Laboratories,    Inc.

(collectively, “Masimo”) oppose Appellant Apple Inc.’s motion for a stay pending

appeal. ECF 7-8 (“Stay-Mot.”). The Commission already concluded that Apple
                                                                                   1
failed to show any of the Standard Havens factors support a stay. Stay-Add-1-15 ;

see also Stay-Add-138-141 (denying request to delay enforcement). Apple’s motion

here similarly fails.

        Apple presented to the Commission no evidence of harm, much less

irreparable harm. The Commission found “Apple’s alleged irreparable injuries are

pure attorney argument supported by no evidence.” Stay-Add-11. Apple presents

similar attorney arguments here. In contrast, Masimo submits a detailed declaration

from its founder and CEO, Joe Kiani, explaining Masimo’s extensive injury from a

stay.

        Apple’s irreparable-harm arguments lack any nexus to the claimed inventions.

Indeed, Apple’s requested relief shows Apple does not need to sell watches that

measure blood oxygen. Apple argues it would be able to sell its “flagship Watch

products” if either (1) this Court stays the remedial orders against watches with the

Blood Oxygen feature, or (2) U.S. Customs and Border Protection (“CBP”) approves

a watch version that Apple represents “Apple Confidential Business Info



        1“Stay-Add” refers to the Addendum to Apple’s stay motion. “MAS-ADD”
refers to Masimo’s Addendum to its Opposition.


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substantial evidence supported its underlying findings. Third, Apple cannot show

the Commission abused its discretion in holding that Apple waived its prosecution

laches defense. Regardless, Apple cannot show the Commission’s findings rejecting

that defense on the merits lack substantial evidence.

      Apple’s public-interest arguments are also unsupported.          As with its

irreparable-harm arguments, Apple never ties its arguments to the infringing feature.

And Apple again ignores the Apple Watch SE and the remedial orders’ repair-and-

warranty exemptions. Stay-Add-14, 19-20, 26-27. Apple also ignores abundant

evidence exposing that Apple’s pulse oximetry performs poorly and that the public

would be better off without it. Substantial evidence supports the Commission’s

conclusion that “the public interest does not support a stay pending appeal, and in

fact counsels against granting a stay.” Stay-Add-14.3

                               I. BACKGROUND

A.    Masimo Becomes An Industry Leader

      Masimo, based in Irvine, California, is an American success story. Kiani ¶¶ 3-

14. Masimo was a “garage startup” founded by Kiani with the goal of solving a

pulse-oximetry problem that the industry thought was unsolvable. Id. ¶¶ 5-6. After



      3Alleged confidentiality does not justify Apple’s failure to address the
Commission’s opinion. Stay-Mot. 1 n.1. Moreover, Masimo informed Apple five
days before Apple filed its motion that nothing in the opinion was confidential.
MAS-ADD-453. And Apple designated nothing confidential. Id.


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succeeding, Masimo now manufactures and sells pulse oximeters that professional

caregivers use to monitor over 200 million patients a year. Id. ¶ 4. Masimo’s pulse

oximetry is the standard in nine of the top ten hospitals in the United States. Id.

      For the past decade, Masimo has been offering pulse oximeters with reliable,

medical-grade measurements directly to consumers. Id. ¶¶ 12-14. Masimo recently

received FDA clearance for the Masimo W1 health-tracking watch, which includes

Masimo’s continuous hospital-grade pulse oximetry. MAS-ADD-404-419; Kiani

¶¶ 19-20. That clearance authorizes over-the-counter sales for medical purposes.

Kiani ¶ 20.

B.    Masimo Encounters Apple

      In May 2013, Apple pursued a meeting with Masimo about integrating

Masimo’s technology in Apple’s products.           Kiani ¶ 24; MAS-ADD-039 at

104:11-22; MAS-ADD-158-159. Instead of partnering with Masimo, Apple hired

Masimo employees, including Masimo’s Chief Medical Officer and the Chief

Technical Officer of a Masimo spin-off, Cercacor. Kiani ¶ 25. Apple ultimately

hired over twenty Masimo and Cercacor employees. Id. In 2015, Apple introduced

the first Apple Watch, which did not contain pulse oximetry.           Id. ¶ 26. That

confirmed Kiani’s understanding of the repeated, but false, representations from

Masimo’s former Chief Medical Officer that Apple had no interest in pulse

oximetry. Id.




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      As the Final ID found, “Apple did not implement a blood oxygen feature in

any of the first six Apple Watches that were commercially released from 2015-

2019.”   Stay-Add-309. Apple’s engineers testified that they found measuring

oxygen saturation at the wrist very difficult. Stay-Add-309-311 (citing evidence

recognizing “invention is required”).

      In September 2020, Apple released the Series 6 Watch with a “blood-oxygen

sensor” to capitalize on the “chaos of COVID-19,” though Apple knew its sensor

was not ready. MAS-ADD-426-428; MAS-ADD-546-547. At the same time, Apple

introduced its Watch SE, a lower-cost watch without a blood-oxygen sensor. MAS-

ADD-548, video at 21:30-21:36.

      Masimo believed Apple’s Series 6 Watch infringed Masimo patents and,

because of the Watch’s poor performance, concluded Apple would destroy consumer

confidence and demand for reliable, medical-grade pulse oximetry. Kiani ¶¶ 31-33.

Therefore, Masimo brought this ITC action seeking prompt exclusion of the Series 6.

Id. ¶ 34-35.

                                 II. ARGUMENT

A.    The Agreed-Upon Law Governing Stays Pending Appeal

      The parties agree on the four factors governing Apple’s motion. Stay-Mot. 5-

6 (likelihood of success, irreparable injury to applicant, injury to other parties, and




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public interest); see also Standard Havens Prods., Inc. v. Gencor Indus., Inc., 897

F.2d 511, 512 (Fed. Cir. 1990).

      The Commission found that Apple failed to show that any of the four factors

support a stay. Stay-Add-6-14. Before this Court, Apple had the opportunity to

supplement the record but added nothing. See Fed. Cir. R. 27(a)(4).

B.    Apple Is Not Likely To Succeed On This Appeal

      1.     Apple Is Unlikely To Succeed On Its Domestic-Industry Challenge

      Apple argues the Commission’s domestic-industry analysis erred because “no

patent-practicing article existed at the time of the complaint.” Stay-Mot. 6. Apple

challenged Masimo’s domestic industry three times and failed each time. See, e.g.,

MAS-ADD-022-035 (Order No. 31 denying Apple Motion for Sanctions); Stay-Add

at 215-247 (Final ID); Stay-Add at 96-98 (Commission Opinion). In rehashing its

failed arguments, Apple ignores the evidentiary record, the detailed findings in the

Final ID, and the Commission’s adoption of those findings.

      Apple incorrectly argues Masimo was “unable to provide evidence of a single

pre-Complaint item that matched the CAD drawing or practiced the claims.”

Stay-Mot. 10. Masimo described the CAD drawings attached to the Complaint as

“representative” of Masimo’s domestic industry products.              Stay-Add-505

(Complaint ¶ 89) (attaching MAS-ADD-003-020). A Masimo engineer testified the

CAD drawings “accurately represent[] the sensing features” and any small




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the Amended Complaint, there is no dispute that multiple ‘Masimo Watch’ physical

items existed at the time of the Amended Complaint.” See MAS-ADD-032. And

before this Court, Apple does not dispute that the Masimo RevA watch was

completed before the Complaint. Nor does Apple dispute that the RevA, RevD, or

RevE watches practice the asserted patents. Stay-Mot. 8.

      At the evidentiary hearing, Masimo’s witnesses confirmed that, before

Masimo’s July 2021 Complaint, Masimo at least:

            (1) manufactured multiple patent practicing articles starting in “late

      2019,” and conducted clinical testing on the RevA watches in 2020, MAS-

      ADD-046 at 250:6-14; MAS-ADD-109-116 (RevA clinical testing);

            (2) manufactured RevD watches around early 2021, MAS-ADD-

      057-058 at 276:12-277:12; MAS-ADD-118-130; MAS-ADD-178 at 239:19-

      240:13;

            (3) manufactured RevE watches around March 2021, which were fully

      operational by May 2021, Stay-Add-244; MAS-ADD-074-076 at 398:20-23

      and 458:1-459:3; and

            (4) conducted clinical studies on those RevE watches that started no

      later than June 2021 (MAS-ADD-063-067 at 313:14-317:20).

      Masimo also submitted physical examples of these patent-practicing articles,

as shown below:



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part of a detailed thirty-page analysis of Masimo’s pre-Complaint articles. See Stay-

Add-215-245.

      The Final ID also credited Masimo testimony “identif[ying] testing of blood

oxygen functionality conducted in 2020 using prototype designs consistent with the

RevA sensor, additional testing in the timeframe of the RevD devices in early 2021,

and further testing of RevE devices in June 2021.” Stay-Add-221 (citing MAS-

ADD-047-059 at 260:11-268:21, MAS 270:17-22, 276:12-278:3; MAS-ADD-065-

066 at 315:16-316:18; MAS-ADD-104-141).            The Commission adopted these

findings. Stay-Add-45.

      Instead of addressing these findings, Apple ignores them and incorrectly

asserts the Final ID relied only upon circumstantial evidence. Apple falsely asserts

“there was no direct evidence” of patent-practicing articles at the time of the

Complaint. Stay-Mot. 9. Apple relies on post-Complaint software updates on RevD

and RevE watches for this argument, but ignores (1) the testimony from Masimo’s

witness that all versions of Masimo’s software could determine oxygen saturation

and pulse rate, MAS-ADD-070 at 346:6-16; MAS-ADD-077 at 476:1-4, and (2) the

clinical studies on each of RevA (MAS-ADD-109-116) and RevE (MAS-ADD-132-

141) proving the watches measured oxygen saturation before the Complaint. MAS-

ADD-046 at 250:6-14; MAS-ADD-057-058 at 276:12-277:12; MAS-ADD-063-067

at 313:14-317:20.



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      Regardless, relying on circumstantial evidence is appropriate and sufficient.

See Moleculon Research Corp. v. CBS, Inc., 793 F.2d 1261, 1272 (Fed. Cir. 1986)

(“‘Circumstantial evidence is not only sufficient, but may also be more certain,

satisfying and persuasive than direct evidence.’”) (quoting Michalic v. Cleveland

Tankers, Inc., 364 U.S. 325, 330 (1960)); Certain Filament Light-Emitting Diodes

and Prods. Containing Same, 337-TA-1220, Comm’n Op., 2022 WL 766226, *18

(Mar. 8, 2022) (circumstantial evidence supporting domestic-industry technical

prong).

      Because Apple ignores and contradicts the record, it cannot succeed in

showing the Commission’s domestic-industry findings lack substantial evidence.

      2.     Apple Is Unlikely To Succeed On Its Obviousness Defenses

      Apple argues the “Commission erred by rubber-stamping Masimo’s attempt

to stretch clinical-focused patents to cover consumer products.” Stay-Mot. 11

(Section B heading). The Commission did not “rubber stamp” anything. The

Commission’s work was extensive, as shown by its detailed 337-page Final ID, 124-

page opinion on review, and 14-page opinion denying Apple’s Stay Motion. Stay-

Add-1-497.     Moreover, Apple’s argument that the Commission “stretched”

Masimo’s patents is nonsensical because Apple does not challenge claim

construction or infringement. Nor does Apple contest the Commission’s rejection

of its written-description defense.




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      Rather, Apple contests the Commission’s rejection of Apple’s obviousness

defense based on Lumidigm prior art. In so doing, Apple never acknowledges it had

the burden to prove supporting facts by clear and convincing evidence.

             a.    The Commission Never Held Lumidigm Must Be “More
                   Enabling” Than The Masimo Patents

      Apple contests the Commission’s adoption of the Final ID’s rejection of

Apple’s Lumidigm-based obviousness defense. Stay-Mot. 12. Apple contends that

ruling “rested in large part on the legal error that prior art references must render

obvious more than the challenged claims enable—or, indeed, more than the

challenged claims require.” Id. Apple claims the Commission required it “to show

the prior art enables more than the patents-at-issue.” Id.

      The Commission did no such thing. At best, Apple misinterprets the Final ID

and inaccurately attributes a position to the Commission that the Commission

expressly rejected. In denying Apple’s Stay Motion, the Commission explained:

            Apple misconstrues the Final ID, and Apple’s argument (also
      presented in its petition for review of the Final ID) was already
      considered and rejected by the Commission. Neither the Final ID nor
      the Commission required Lumidigm to enable more than the asserted
      patent claims. Rather, the Commission properly analyzed Lumidigm
      and other evidence to determine if a person of ordinary skill in the art
      would have been motivated to modify Lumidigm’s wristwatch to
      measure oxygen saturation to arrive at the alleged invalidating device
      with a reasonable expectation of success.

Stay-Add-10 (citations omitted).




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      Apple complains about the Final ID’s finding that Lumidigm does not enable

taking “oxygen saturation” at the wrist, even though none of the asserted claims

recite measuring on the wrist. Stay-Mot. 13. As the Commission explained in

denying the Stay Motion, Apple created the issue:

      While measuring oxygen saturation at the wrist is not claimed, Apple
      chose to base its invalidity theory on measuring blood oxygen
      saturation at the wrist being taught or suggested by Lumidigm to a
      person of ordinary skill in the art at the time of the invention.

             Here, the Commission properly found that Lumidigm, alone or
      combined with knowledge in the art at the time of the invention, did not
      enable measuring oxygen saturation at the wrist, and therefore a person
      of ordinary skill in the art would not have reasonably expected success
      at arriving at the device serving as the basis of Apple’s obviousness
      theory.

Stay-Add-10. (citations omitted).

      The above passages show Apple contrived the alleged legal errors. Apple

disputes the factual findings on Lumidigm—not any legal issue. What Lumidigm

teaches presents a pure question of fact. See Orion IP, LLC v. Hyundai Motor Am.,

605 F.3d 967, 975 (Fed. Cir. 2010). Because abundant evidence supports the

Commission’s findings, Apple cannot succeed on appeal.

            b.     Apple’s New Invalidity Arguments Are Without Merit

      Apple never presented its remaining invalidity arguments to the Commission

on its previous stay motion. Apple now challenges the Commission’s findings that

Lumidigm does not teach or suggest separate “transmissive windows” or “optically

transparent material” extending across openings. Stay-Mot. 14.


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      First, the Final ID did not hold “the Lumidigm reference satisfies the

limitations in question” as Apple represents. Id. The Final ID found “the evidence

does not clearly and convincingly show a reason to incorporate [optically-

transparent material] ‘within’ each opening.”       Stay-Add-283.      Second, the

Commission did not reverse this finding, as Apple represents. Rather, it “affirm[ed]

and adopt[ed] the Final ID’s findings and conclusion that neither Lumidigm nor a

combination of Lumidigm and other prior art teaches or suggests an ‘optically-

transparent material within each of the openings.’” Stay-Add-65 (citing Stay-Add-

281-284). Apple cannot show either finding lacks substantial evidence.

      Apple next argues as if the Commission had to adopt Apple’s expert testimony

about Lumidigm referencing “fiber optic faceplates.” But that testimony does not

track the claim limitations and merely states what “could be implemented,” not what

would have been obvious to implement. The Commission correctly criticized such

testimony. Stay-Add-66; see, e.g., Adidas AG v. Nike, Inc., 963 F.3d 1355, 1359

(Fed. Cir. 2020) (“The obviousness inquiry does not merely ask whether a skilled

artisan could combine the references, but instead asks whether ‘they would have

been motivated to do so.’”); see also Auris Health, Inc. v. Intuitive Surgical

Operations, Inc., 32 F.4th 1154, 1158 (Fed. Cir. 2022).

      Moreover, the Commission explained why its rejection of Apple’s

obviousness theories based on Lumidigm was consistent with the USPTO’s rejection



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of Apple’s reliance on Lumidigm in four separate IPRs. Stay-Add-67-69; MAS-
               5
ADD-234-343. The USPTO rejected Apple’s “proposed amalgamation of prior art

teachings” as a “convoluted combination” that was “grounded in hindsight rather

than based on due consideration of the teachings of the pertinent prior art.” MAS-

ADD-334-335.

      Citing its expert’s testimony, Apple alleges a person of ordinary skill would

have reason to modify Lumidigm to use “fiber optic faceplates, which could be

implemented as either (1) a single faceplate or (2) as individual faceplates over each

opening.” Stay-Mot. 14–15 (citing, e.g., KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398

(2007)). KSR and its progeny do not apply because no testimony supports Apple’s

assumption that its obviousness theory is based on a “small number of alternatives.”

Stay-Mot. 14-15. Further, Apple waived this argument by never raising it before.

      Apple challenges the Final ID’s finding and the Commission’s affirmance

upholding Claim 22. Stay-Mot. 15. Apple argues that Lumidigm renders the claim

obvious based on expert testimony that does not even mention Lumidigm. Id. (citing

Stay-Add-529-530). But the Commission has no obligation to address irrelevant




      5 Apple requested the Commission take judicial notice of those IPRs before
knowing the outcomes, reflecting Apple’s prior position to the Commission that the
USPTO is the “lead agency in assessing patentability, or validity, of proposed or
issued claims.” MAS-ADD-430-432.


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testimony.   Because the Commission’s Lumidigm’s findings are supported by

substantial evidence, Apple is not likely to succeed on its obviousness defense.

      3.     Apple Is Unlikely To Succeed On Its Waived Defense Of
             Prosecution Laches

      The Commission rejected Apple’s prosecution-laches argument as waived

and lacking evidence. The Commission found “Apple waived its opportunity to

challenge this issue by not properly presenting it in its petition for review of the Final

ID.” Stay-Add-8. As the Commission explained, Apple’s Petition for Review

violated Commission rules by merely incorporating by reference Apple’s

unsuccessful prosecution laches arguments before the ALJ. Id. (relying on 19 C.F.R.

§ 210.43(b)(2)). Apple cannot show the Commission abused its discretion applying

its own rules.

      Regardless, the Final ID rejected Apple’s prosecution-laches defense on the

merits. Stay-Add-330-333, 405. The Final ID found no prosecution delays, relying

on unrebutted testimony from the former Commissioner of Patents, Robert Stoll, and

Masimo’s prosecuting attorney. Id. at 331-332. Apple notes that the Final ID’s

finding that Masimo maintained a “continuous unbroken chain” of applications, by

itself, would not answer whether laches applies. Stay-Mot. 17 n.7. The finding of

no delay renders Apple’s note irrelevant.

      The Final ID also rejected the argument Apple repeats here that Masimo

purportedly delayed writing patents to cover Apple’s Watches after they were



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released. Stay-Add-333. The Final ID found (1) “Apple has not provided evidence

showing that newly asserted claim limitations were specifically drawn to the

Accused Products” and (2) even if there were such evidence, nothing is improper

about drafting claims to cover competitors’ products. Stay-Add-334 n.65. The ID

also cited Masimo’s argument that “there can be no prejudice to Apple because the

specification of the [Masimo] patents was published in February 2010.” Stay-Add-

332.

       The Final ID also rejected Apple’s argument repeated here that Masimo

should have filed certain patent applications earlier. Stay-Mot. 16; Stay-Add-333.

The Final ID found that “Apple failed to identify actions by Masimo that resemble

the type of conduct recognized by the Federal Circuit as unjustifiable prosecution

delay.” Stay-Add-333-334.

       Because of Apple’s waiver, the Commission’s Final Determination

unsurprisingly makes no mention of Apple’s laches defense and thus affirmed and

adopted the Final ID’s analysis rejecting this defense. Stay-Add-45. Apple cannot

show it is likely to succeed on its prosecution-laches defense.

C.     Apple Has Not Shown Any Irreparable Harm

       The Commission found Apple offered no evidence of irreparable harm,

especially because the remedial orders “affect just a portion of one product line in




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Apple’s large suite of product and service offerings.” Stay-Add-12. Here, Apple

rehashes the same arguments the Commission rejected and offers no new evidence.

      For example, Apple argues it “is losing goodwill and suffering reputational

damage from being unable to provide U.S. consumers with its flagship Apple Watch

products.” Stay-Mot. 18 (citing Celsis In Vitro). The Commission rejected this

assertion as “pure attorney argument supported by no evidence.” Stay-Add-11.

      Apple also repeats its assertions of harm based on purported “supply-chain

constraints.” Stay-Mot. 19 (citing Davis Decl. ¶ 19 at Stay-Add-595-596). The

Commission also found that argument unpersuasive. Stay-Add-140. Moreover,

Apple and its declarant ignore that Apple sells its Watch SE with virtually all the

features of the excluded watches but without the infringing blood-oxygen sensor.

      Apple also had two-and-a-half years to prepare for possible exclusion,

including an entire year after the Final ID. Apple cannot complain about the

consequences of its own failure to prepare for exclusion.

      In a footnote, Apple argues it will suffer “substantial and unpredictable

deleterious consequences.” Stay-Mot. 19 n.9. It cites two paragraphs, one from each

of two declarations, to argue “that it would be ‘highly disruptive’ for Apple Watch

users to ‘switch to another device.’” Id. (citing Stay-Add-588 and Stay-Add-610-

611). But the remedial orders do not impact any existing users. The remedial orders

also have repair-and-warranty exemptions so current users have no need to switch



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to another watch. Moreover, the Apple Watch SE has all the health features the

declarants mention.

      Finally, Apple argues it needs time for the CBP’s Exclusion Order

Enforcement Branch to rule that “Apple’s redesigned Watches fall outside the

Commission’s Orders because they Apple Confidential Business Info the

Commission found to be infringing.”6 Stay-Mot. 20. By this argument, Apple

admits it will suffer no irreparable harm if the CBP rules as Apple predicts. Indeed,

Apple never argues that the blood-oxygen feature has any value at all to Apple, much

less that it is critical. That failure to connect any harm to the infringing feature is

fatal. See, e.g., Apple Inc. v. Samsung Elecs. Co., 695 F.3d 1370, 1374 (Fed. Cir.

2012) (irreparable harm requires a “sufficiently strong causal nexus” between

“alleged harm to the alleged infringement.”).

D.    A Stay Through Appeal Would Harm Masimo

      Masimo filed its Complaint in July 2021. After two-and-a-half years, a

thorough Commission investigation, and four PTO denials of Apple IPR petitions


      6 Masimo maintains that Apple did not “Apple Confidential Business Info
       ” in its “redesign” before CBP. Masimo cannot explain why because Apple
required Masimo not use any part of the CBP proceeding in any other proceeding.
Apple’s position before the CBP reflects its “high risk” legal strategy to “steer the
ship as close to that line [dividing legally risky actions from clearly safe actions] as
you can, because that is where the competitive advantage lies.” MAS-ADD-422. If
the CBP agrees with Masimo and rejects Apple’s “redesign,” Apple has only itself
to blame because it had ample opportunity to actually “Apple Confidential Business Info
                 .”


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challenging the Masimo patents supporting the remedial orders, Apple requests

additional time to infringe. As explained in the Kiani Declaration, granting Apple’s

request would harm Masimo in many ways.

        Masimo’s goal has always been to get medical-grade pulse oximetry to as

many people as possible. Kiani ¶ 5. Over the last ten years, Masimo has invested

heavily on applying its pulse oximetry technology to wrist-worn devices for

consumers.     Id. ¶¶ 15-23.     Because Masimo has always been focused on the

importance of accurate and reliable blood-oxygen measurements, the public’s

positive perception of that parameter is vital to Masimo’s success. Id. ¶¶ 50-51.

        Unfortunately, most consumers are now likely to be exposed to pulse

oximetry for the first time using the Apple Watch. Id. ¶ 50. But the Apple Watch

performs pulse oximetry poorly. Id. ¶¶ 43-46, 48-49; MAS-ADD-377-392 (Masimo

Whitepaper). When consumers assume that Apple products are the best available,

they will lose confidence in the blood-oxygen parameter. Kiani ¶ 50. That in turn

destroys demand for Masimo’s reliable, medical-grade pulse oximetry. Id. ¶¶ 50-

54. Moreover, because of Apple’s pricing among its watches, consumers will

incorrectly believe that reliable pulse oximetry is worth only about $120-$150. Id.

¶ 53.

        A stay would also frustrate Masimo’s incentive to innovate, contrary to the

goal of the patent system. Id. ¶¶ 61-69. Masimo, like other innovative companies,



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greatly depends on the patent system. Id. ¶¶ 61-65, 75. Masimo disclosed to the

public how Masimo’s technology works in exchange for a limited exclusionary right.

Masimo invested many resources in developing wearable medical-grade pulse

oximetry while Apple, almost overnight, dominated the consumer field with an

infringing inferior version of Masimo’s technology.

      A stay would demoralize Masimo’s scientists and engineers as they see a large

company like Apple continuing to infringe. Id. ¶¶ 66-69. This is exacerbated

because Apple hired their colleagues to assist in developing the Apple Watch, lost

before the Commission, and lost before the Patent Office in challenging Masimo’s

patents. Id. ¶¶ 68-69. Failing to recognize and reward these scientists and engineers

for inventing innovative new products would reduce their incentive to create and

invent more innovative solutions to medical problems.

      Allowing Apple to continue selling infringing products also harms Masimo

by forcing Masimo to compete against its own patented technology. Id. ¶ 61. Apple

appears to agree, at least when Apple asserted its own patents against Masimo.

MAS-ADD-443 (arguing that allegedly infringing product causes irreparable harm

by “forcing Apple to compete against its own patented invention”); MAS-ADD-444

(arguing that allowing a competitor to establish a “foothold” through infringing

products causes irreparable harm).




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      A stay would also greatly hurt Masimo’s reputation. Kiani ¶¶ 55-60. News

of the remedial orders has been prolific and widespread. Id. ¶ 55. Apple has taken

advantage of the Court’s interim stay and would take advantage of a longer stay to

continue its publicity campaign that Masimo’s infringement claims lack merit and

that Masimo somehow copied Apple’s technology. Id. ¶¶ 58-60.

      As the Commission found in denying Apple’s Stay Motion, Masimo “would

suffer some harm by granting the stay.” Stay-Add-12. It also correctly found

Masimo “will be irreparably injured by a stay that denies its patents the full term to

which they are entitled.” Id. That harm is particularly significant because the

Masimo patents are nearing their expiration in 2028. Kiani ¶¶ 36, 71. And the Kiani

declaration reinforces the Commission’s findings that Masimo would suffer harm

from a stay. By contrast, as the Commission found, Apple presents no evidence of

its own harm.

E.    The Public Interest Does Not Support A Stay

      Apple repeats the public-interest arguments the Commission and the President

have repeatedly rejected in this matter and in the AliveCor matter (now pending

before this Court). As the Commission correctly found, “the public interest does not

support a stay pending appeal, and in fact counsels against granting a stay.” Stay-

Add-14; see also Stay-Add-138-141 (denying Apple request to delay enforcement).

The Commission found the “public interest favors the protection of intellectual




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property rights by excluding infringing products.” Stay-Add-14. Apple agrees when

asserting patents against Masimo. MAS-ADD-449 (arguing “there is a strong public

policy interest in the enforcement of patent rights”).

      As with its irreparable-harm arguments, Apple’s public-interest arguments are

unconnected to the claimed inventions. Apple argues that millions of “would-be

Watch purchasers will rely on the accused products” for many reasons “that go far

beyond the inventions claimed.” Stay-Mot. 21. It points to “potentially lifesaving

features—such as the Irregular Heart Rhythm Notification [(IHRN)] feature and the

ECG app.” Id. But both those features are unrelated to the claimed pulse oximetry

inventions. Moreover, the Watch SE has the IHRN feature. The IHRN feature and

the ECG app were also on Apple’s Series 4 & 5 Watches, which did not include

pulse oximetry and are also not subject to exclusion. MAS-ADD-458 (Apple Watch

comparison chart).

      Apple argues the remedial orders “pose an immediate setback for medical

research, where the Apple Watch plays a critical role.” Stay-Mot. 21. It points to

studies that are underway. Id. But Apple says nothing about the infringing blood-

oxygen sensor, instead pointing to features in watches not at issue.

      Moreover, Apple ignores the Commission’s finding that “[t]here are

numerous reasonable substitutes for infringing Apple Watches available in the

United States for both Apple Watch users who use the devices for personal, health-



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related use and for users who are using infringing Apple Watches to participate in

medical studies.” Stay-Add-114.

      Furthermore, as the Commission found, the remedial orders “cover only new

imports of infringing Apple Watches” and “[t]hus, the Commission’s remedy will

not prevent current study participants using infringing Apple Watches from

continuing to participate in research studies.” Stay-Add-127. Current research study

participants, like the general population, also can repair or replace their infringing

Apple Watches should they fall under the remedial orders’ exemptions. Id. Thus,

the Commission correctly found “little evidence of ongoing studies that require

infringing Apple Watches” and multiple suitable substitute devices for current and

future medical research studies. Id. at 91-92, 97.

      Apple also ignores the numerous third-party submissions on public interest

identified in the Commission’s Final Determination. Some of the nation’s leading

physicians explained how the Apple Watches are unreliable and even dangerous.

For example:

             (1) Dr. Ward of the University of Michigan explained the Apple Watch

      “endangers public health” and the “parameters provided and advertised by

      Apple simply do not have the fidelity and accuracy required for medical

      decision making.” MAS-ADD-345-347.




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             (2) The Medical Device Manufacturers Association explained Apple

      Watch is a mere toy. MAS-ADD-372.

             (3) Dr. Goldstein, a prominent neonatologist at Loma Linda University

      Medical Center, explained “The incorrect perception that Apple’s pulse

      oximetry feature includes reliable technology could lead to both false

      positives and false negatives, hurting the public welfare.” MAS-ADD-353.

             (4) Dr. Pronovost at University Hospitals explained the Apple Watch

      puts “patients at risk for misdiagnosis and harm.” MAS-ADD-358.

             (5) The Patient Safety Movement Foundation explained it believes the

      Apple Watch is “potentially dangerous to the public, particularly given

      Apple’s historic marketing of the feature.” MAS-ADD-364.

See also Kiani ¶¶ 77-81.

      The Commission acknowledged “[o]ther researchers, medical professionals,

and commenters… [went] so far as [to] discourage reliance on Apple’s blood

oxygen saturation feature.” Stay-Add-119 (citing numerous third-party statements).

Unfortunately, Apple promotes the watch as lifesaving, even though such claims are

unrelated to pulse oximetry.

      Apple’s arguments regarding impact to the economy also do not support a

stay. The Commission correctly found Apple does not specify how many jobs are

particularly related to the infringing Apple Watches, as opposed to all the other non-



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infringing products and services offered by Apple. Stay-Add-143. Apple cannot

demonstrate any of the Commission’s findings lack substantial evidence.

                              III. CONCLUSION
      Apple has not shown any of the Standard Havens factors favor a stay pending

appeal. All four factors weigh against a stay. Accordingly, this Court should deny

Apple’s motion to stay.

                               Respectfully submitted,

                               KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: January 10, 2024        By: /s/ Joseph R. Re
                                   Joseph R. Re

                               Counsel for Intervenors
                               Masimo Corporation and
                               Cercacor Laboratories, Inc.




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                           CERTIFICATE OF INTEREST

      Counsel for Intervenors Masimo Corporation and Cercacor Laboratories, Inc.

certifies the following:

      1.     The full name of the parties represented by me is:

             Masimo Corporation
             52 Discovery
             Irvine, CA 92618
             Telephone: 949-297-7000

             Cercacor Laboratories, Inc.
             15750 Alton Pkwy
             Irvine, CA 92618
             Telephone: 800-610-8522

      2.     The name of the real party in interest represented by me is:

             N/A

      3.    Full name of all parent corporations and all publicly held companies
that own 10 percent or more of the stock of the party represented by me are:

             Masimo Corporation has no parent corporation. BlackRock, Inc. owns
             at least 10% of Masimo Corporation’s stock.

             Cercacor Laboratories, Inc. has no parent corporation and no publicly
             held company owns at least 10% of Cercacor Laboratories, Inc’s stock.

       4.     Other than those who have already made an appearance in this Appeal,
the name of all law firms, partners, and associates that (a) appeared for the entities
in the originating court or agency or (b) are expected to appear in this Court are:

             Knobbe, Martens, Olson & Bear, LLP: Ted M. Cannon, Irfan A. Lateef,
             Alan G. Laquer, Kendall M. Loebbaka, Carol Pitzel Cruz, Douglas B.
             Wentzel, Daniel C. Kiang, William R. Zimmerman, Karl W. Kowallis,
             and Matthew S. Friedrichs.



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      5.     The title and number of any case known to counsel to be pending in this
or any other court or agency that will directly affect or be directly affected by this
court’s decision in the pending appeal are as follows:

      Apple Inc. v. Masimo Corporation et al., 1:22-cv-01378-MN (D. Del).

      6.      Information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees):

             None.

                                 KNOBBE, MARTENS, OLSON & BEAR, LLP

Dated: January 10, 2024          By: /s/ Joseph R. Re
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                                 Counsel for Intervenors
                                 Masimo Corporation and
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FORM 31. Certificate of Confidential Material                                            Form 31
                                                                                        July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

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                                                             Joseph R. Re
                                                Name:
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                      CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Federal Rule of

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Federal Rule of Appellate Procedure 32(f) and Federal Circuit Rule 32(b)(2).

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                                KNOBBE, MARTENS, OLSON & BEAR, LLP


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